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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


  LTL MANAGEMENT, LLC,

                           Plaintiff,
                                                        Civ. Action No. 21-20252 (FLW)
         v.
                                                                     ORDER
  THOSE PARTIES LISTED ON APPENDIX
  A TO COMPLAINT and JOHN AND JANE
  DOES 1–1000,

                           Defendants.


       THIS MATTER comes before the Court upon a Motion to Withdraw Reference [ECF No.

1] (the “Motion”) by Daniel M. Stolz, Esq., counsel for the Official Committee of Talc Claimants

(the “Committee”) in Adv. Pro. No. 21-03032 (MBK) (the “Adversary Proceeding”), pursuant to 28

U.S.C. § 157(d), Fed. R. Bankr. P. 5011, and L. Bankr. R. 5011-1; it appearing that LTL

Management, LLC, by and through its counsel Paul R. DeFilippo, Esq., opposes the Motion [ECF

No. 14]; it appearing that in light of various impending deadlines in the underlying bankruptcy

proceedings, and the need to provide the parties and the Bankruptcy Court with certainty as to where

these proceedings should proceed, the Court issues this Order denying the Motion; it appearing that

an Opinion, setting forth the Court’s reasons, will issue within approximately twenty days from the

date of this Order; accordingly, the Court having considered the submissions of the parties pursuant

to Federal Rule of Civil Procedure 78, and for good cause shown,

       IT IS on this 11th day of January, 2022:

       ORDERED that the Motion to Withdraw Reference is DENIED.
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                                                    /s/ Freda L. Wolfson
                                                    Hon. Freda L. Wolfson
                                                    U.S. Chief District Judge




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